                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

      v.                                              Case No. 98-CR-104

PEDRO MARTINEZ,
              Defendant.


                                   MEMORANDUM

      The court of appeals ordered a limited remand of the sentence of defendant Pedro

Martinez pursuant to United States v. Paladino, 401 F.3d 471 (7th Cir. 2005). United

States v. Olson, 450 F.3d 655, 682-83 (7th Cir. 2006). Under Paladino, the district

court’s task is to decide whether, knowing that the sentencing guidelines are now

advisory, it would adhere to the original sentence. In making this determination, the

court must obtain the views of counsel, at least in writing, but need not require the

presence of the defendant. Upon reaching its decision whether to re-sentence, the

district court must either place on the record a decision not to re-sentence, with an

appropriate explanation, or inform the court of appeals of its desire to re-sentence the

defendant. Id. at 484.

      The parties have fully briefed the issue. I now issue the following memorandum

advising the court of appeals that I would impose the same sentence in light of United

States v. Booker, 543 U.S. 220 (2005).




Case 2:98-cr-00104-LA    Filed 10/02/06    Page 1 of 10    Document 2402
                             I. FACTS AND BACKGROUND

      Defendant was indicted, along with more than thirty other members of the Latin

Kings street gang, with racketeering and drug offenses.         A jury convicted him of

racketeering (count one), racketeering conspiracy (count two) and conspiracy to distribute

marijuana and cocaine (count three) after a nine week trial. The jury specifically found

defendant guilty of three predicate acts under the RICO count – conspiracy to murder and

murder of Angelique Morales, and attempted murder of Jennifer Brezynski; drug

conspiracy; and solicitation to murder and intimidation of Javier Salgado.

      The pre-sentence report (PSR) set defendant’s offense level at 52 and his criminal

history category at IV under the then-mandatory sentencing guidelines, producing an

imprisonment range of life. I sentenced defendant to life on counts one and two, and

twenty years imprisonment on count three, with the sentences to run concurrently with

each other and with an unrelated federal sentence defendant was then serving.

                                     II. DISCUSSION

A.    Sentencing Factors

      Under Booker, the sentencing court must consider the factors set forth in 18 U.S.C.

§ 3553(a), which include:

      (1)    the nature and circumstances of the offense and the history and
             characteristics of the defendant;

      (2)    the need for the sentence imposed–

             (A) to reflect the seriousness of the offense, to promote respect for the law,
             and to provide just punishment for the offense;

             (B) to afford adequate deterrence to criminal conduct;



                                             2


Case 2:98-cr-00104-LA       Filed 10/02/06   Page 2 of 10   Document 2402
              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a). The statute directs the court to “impose a sentence sufficient, but not

greater than necessary, to comply with the purposes set forth in paragraph (2).” Id.

B.     Analysis

       1.     Nature of Offenses

       The crimes of which defendant stands convicted are extremely serious. The

evidence showed that defendant was the leader, or “Inca,” of his set of the Latin Kings from

1992 to 1994. In that position, he directed the activities of other members of the gang,

including acts of violence and controlled substance offenses. Defendant was “violated”

out of the gang in 1994 for allegedly cooperating with law enforcement, but later

approached the national leader of the Kings while in federal prison and was “blessed” back

into the gang.

       The most serious act of which defendant stands convicted is the 1994 murder

Angelique Morales and attempted murder of Jennifer Brezynski. The evidence showed

that the Latin Kings were angry at Morales because she had offended the gang, including

encouraging a rap group to “throw down the crown” – a hand gesture considered


                                              3


Case 2:98-cr-00104-LA      Filed 10/02/06     Page 3 of 10   Document 2402
disrespectful by the Kings – during a concert. A new months after the concert, defendant

was driving around with Andrew Acosta, Eric Estrada and Emiliano Vargas when he saw

Morales at a gas station and pulled over. Acosta got out of the car, approached Morales

and shot her repeatedly at close range, killing her and wounding her companion,

Brezynski.1 Defendant waited until Acosta completed the killing, then picked him up and

drove off. Thereafter, defendant ordered another gang member to get rid of the murder

weapon and hired a lawyer for Acosta with gang funds when Acosta was charged with

murder in state court. Defendant later bragged, “We smoked that bitch.”

      In his memorandum, defendant notes certain testimony that he tried to stop the

murder. Estrada testified that defendant said “leave it alone” as Acosta exited the car. 2

Based on this testimony, defendant contends that his role was mitigated.3 I disagree.

Given his actions in pulling over when he saw Morales, I find it doubtful that defendant

really wanted Acosta to “leave it alone.” In any event, whether or not defendant made this

statement, his actions spoke louder than his words. He remained at the scene, despite

Estrada’s request that he drive away, because he did not want to leave “his guy.” He later

ordered the disposal of the murder weapon by another King, a thirteen year old boy, and



      1
       Brezynski, who had never met Acosta, survived and identified Acosta as the
shooter.
      2
          However, Vargas testified that he heard no such comment.
      3
        At the original sentencing, I denied defendant’s motion for a downward departure
based on his argument that this murder fell outside the heartland. However, under Booker,
I may impose a non-guideline sentence based on factors that would not support a
departure. See United States v. Cull, No. 05-CR-329, 2006 U.S. Dist. LEXIS 62012, at *13
(E.D. Wis. Aug. 30, 2006) (citing United States v. Castro-Juarez, 425 F.3d 430, 436 (7th
Cir. 2005)).

                                            4


Case 2:98-cr-00104-LA      Filed 10/02/06   Page 4 of 10    Document 2402
hired a lawyer for Acosta with gang money.4 Further, defendant’s statements after the

murder indicate that he supported Acosta’s act. He told others that “we smoked that bitch,”

and that he had decided to “take advantage” of the opportunity to kill Morales because she

had disrespected the gang. Another cooperating witness testified that during his time as

Inca, defendant complained that Morales was publicly disrespecting the Kings, and that

defendant ordered any King who saw Morales to beat her up or shoot her. Given this

evidence, I see no mitigation of defendant’s culpability for this murder.5 As Morales’s

mother stated at the original sentencing, while defendant “wasn’t the trigger man,” he “was

the one providing the weapons and calling the shots. I suppose this is how he became

known as Pistol Pete.”

       Defendant also sought to have a cooperating witness, Javier Salgado, killed after

the instant federal charges were filed. In 1999, defendant sent a series of letters to

another member of the Latin Kings, David Lozano, who was incarcerated with Salgado,

seeking to have Salgado killed. In one letter defendant stated that Salgado “needs his

head spit open,” and that “someone needs to deal with him.” Because Lozano was also

cooperating with the government, Salgado was not harmed. Nevertheless, this act further

reflects defendant’s violent and dangerous nature. Defendant offers no mitigation of this

act in his Paladino statement.


       4
        Acosta’s state murder trial ended in an acquittal after defendant’s sister provided
a false alibi.
       5
      Defendant notes that Acosta may have been upset after a fight with his girlfriend,
which may have contributed to his actions. I recently rejected this argument and re-
imposed a life sentence on Acosta. United States v. Acosta, No. 98-CR-104 (E.D. Wis.
September 25, 2006) (Judgment). Acosta’s sentence had been fully remanded by the
Seventh Circuit because he preserved a Booker-type argument. Olson, 450 F.3d at 683.

                                            5


Case 2:98-cr-00104-LA     Filed 10/02/06    Page 5 of 10     Document 2402
       Finally, defendant was involved in the distribution of large amounts of drugs,

equivalent to about 30,000 kilograms of marijuana. These substances were distributed to

fund the gang’s activities, including acquisition of weapons used to commit acts of violence.

As noted, defendant was Inca of his cell of the gang for several years. As discussed in the

PSR, the gang employed violence and torture to maintain its territory, and defendant

maintained an arsenal of weapons for these purposes.

       In sum, the crimes defendant committed were extremely serious, and defendant has

offered nothing persuasive in mitigation.

B.     Character of Defendant

       At the time of his original sentencing in 2001, defendant was 28 years old and had

already compiled a very serious record. As a juvenile he sustained adjudications for

criminal damage to property, burglary and carrying a concealed weapon. In 1993, he was

convicted in adult court of drug possession. In 1995, he was convicted of recklessly

endangering safety arising out of an incident in which he shot at other young men, likely

due to a gang-related dispute. In 1997, he was convicted in federal court in Indiana of

conspiracy to distribute marijuana and possession of a firearm in relation to a drug

trafficking crime and sentenced to 13 years in prison.6 During his incarceration on the

federal drug case, he compiled a record of disciplinary infractions, including fighting,

insolence and possession of drugs. While housed locally for the trial in this case, he

assaulted another inmate.




       6
         Defendant also received numerous ordinance violations for disorderly conduct,
loitering and resisting.

                                             6


Case 2:98-cr-00104-LA      Filed 10/02/06    Page 6 of 10     Document 2402
       Defendant’s conduct in the community prior to his incarceration was no better. He

dropped out of high school, fathered two children whom he did not fully support financially,

and rarely worked. He used marijuana regularly, but denied any need for treatment. He

joined the Latin Kings at the age of 14, arising to the position of Inca in 1992. In 1994, he

was apparently “violated” out of the gang for cooperating with police. However, he later

approached the national leader of the gang while in federal prison and was “blessed” back

in. Thereafter, he sought to have Salgado, an alleged cooperator against the gang, killed.

       In sum, there is little positive in defendant’s character and background.

       In his Paladino statement, defendant notes his volatile childhood, which led him to

join the Latin Kings while still a child. There is no doubt that defendant’s upbringing was

unstable. Like many others, he probably turned to the gang for the support he did not have

at home. However, he took things much further, becoming a leader and engaging in the

acts of violence of which he stands convicted. Further, his violent tendencies continued

well into adulthood and cannot be blamed on being a youthful follower.

       Defendant states that he has made efforts to turn his life around in prison. He

obtained his HSED in 1999 while detained pre-trial in the Ozaukee County Jail, receiving

good ratings. He has also completed classes within the Bureau of Prisons and expressed

an interest in furthering his education. However, I must balance against these positives

defendant’s significant disciplinary record in prison, as well as his re-joining the Kings while

in prison and attempting to have Salgado killed.

       Finally, defendant notes that he maintains strong family ties, communicating with

his mother and two children, now aged 17 and 16, and the children’s mother, Gina Palacio,

as well as other family members. Ms. Palacio states that the children want to maintain a

                                               7


Case 2:98-cr-00104-LA       Filed 10/02/06     Page 7 of 10     Document 2402
relationship with defendant, and defendant takes great pride in the fact that both have

stayed in school and are good students. In her letter, Ms. Palacio requests that defendant

receive a second chance to build a relationship with the children. These appear to be

positive developments, but again they must be balanced against the significant negatives

in defendant’s background. I further note that at the time of original sentencing, defendant

owed about $4000 in back child support.

C.     Purposes of Sentencing

       At the time of the original sentencing, the guidelines required a sentence of life

imprisonment. I must now determine whether such a sentence is necessary to satisfy the

purposes of sentencing under § 3553(a)(2).7

       The discretionary imposition of a life sentence is a most serious matter. Only if the

purposes of sentencing can be satisfied with nothing less should such a sentence be

pronounced. Under the facts of this case, given the nature of the offense and the history

and character of the defendant, a life sentence is necessary to provide just punishment,

protect the public and deter others, and I see no evidence that defendant’s rehabilitative

needs will be more effectively served by an alternate sentence.

       A life sentence is necessary to provide just punishment. Defendant participated in

a brutal, cold-blooded murder to avenge a slight to his gang. Although he did not pull the

trigger, he directed the crime, drove Acosta to and from the scene, and ordered disposal


       7
        I need not, on a Paladino remand, set forth the specific sentence I consider
sufficient to satisfy the § 3553(a)(2) purposes. Instead, I indicate whether I would impose
a non-guideline sentence given the discretion afforded by Booker. See United States v.
Salazar-Hernandez, 431 F. Supp. 2d 931, 933 (E.D. Wis. 2006). In the present case, that
requires me to compare the life sentence recommended by the guidelines with the
purposes of sentencing under § 3553(a)(2).

                                             8


Case 2:98-cr-00104-LA      Filed 10/02/06    Page 8 of 10    Document 2402
of the murder weapon. In addition to the murder of Angelique Morales, he participated in

the wounding of Brezynski, and sought to have Salgado killed.          The most serious

sentences should be reserved for the most serious crimes, and these offenses qualify. In

addition, defendant engaged in drug dealing and other gang activities, which caused

considerable harm to the area on the south side of Milwaukee where the Latin Kings

operated. I consider the victim impact statements in the record, which further convince me

that respect for the law can be satisfied with nothing less than the maximum sentence

allowed by law.

       A life sentence is also necessary to protect the public from further crimes of the

defendant. Defendant’s record displays a wanton disregard for life and a willingness to use

violence when he is offended. Even within the prison system, he has sought to have

others hurt or killed, and engaged in violent acts himself. There is no indication that

defendant has or will leave the gang, at least voluntarily. Therefore, I must protect the

public for as long as I can. Defendant notes studies showing that recidivism drops

substantially with age. However, I must consider such studies with an eye on the specifics

of this case, which persuade me that a life sentence is necessary.

       A life sentence is also necessary to deter others. Courts must make quite clear that

society will not tolerate gangs terrorizing neighborhoods, and that gang leaders will be

severely punished. Further, courts must send the message that killing another over a slight

will result in a most serious penalty.

       Finally, I see no evidence that defendant’s rehabilitative needs, whatever they may

be, are better served by an alternate sentence. There is no evidence that defendant has

a serious drug problem, that any condition contributed to his crimes, or that any sort of

                                            9


Case 2:98-cr-00104-LA      Filed 10/02/06   Page 9 of 10     Document 2402
 treatment or therapy will decrease the danger he poses to the public. I find that his needs

 are being served, as best they can be, in the Bureau of Prisons. I see no treatment

 alternatives supporting a lesser sentence.8

       Therefore, I conclude that a life sentence is necessary in order to satisfy the

 purposes of sentencing in § 3553(a).

                                     III. CONCLUSION

       For the reasons stated, I determine that, in light of the additional discretion afforded

 by Booker, I would impose the same sentence. The Clerk is directed to transmit this

 memorandum to the court of appeals.

       SO ORDERED.

       Dated at Milwaukee, Wisconsin this 2nd day of October, 2006.


                                                    /s Lynn Adelman
                                                    _______________________
                                                    LYNN ADELMAN
                                                    District Judge




       8
         Defendant owed about $1500 in restitution to the crime victims compensation fund
 related to funeral expenses for Morales and payments to Brezynski. Given defendant’s
 lack of employment in the community, I find it more likely that he will make payments
 towards this obligation in prison under the Inmate Financial Responsibility Program than
 under some alternate sentence. See 18 U.S.C. § 3553(a)(7). Further, given both the
 sentence imposed on Acosta and the guideline calculations in this case, I find that the
 need to avoid unwarranted disparity is best served by a life sentence. See § 3553(a)(6).

                                               10


Case 2:98-cr-00104-LA      Filed 10/02/06      Page 10 of 10    Document 2402
